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           IN THE UNITED STATES DISTRICT COURT
               NORTHERN DISTRICT OF FLORIDA
                   TALLAHASSEE DIVISION


ANDREW H. WARREN,

                    Plaintiff,                       Civil Action No.
v.
RON DESANTIS, individually and in his official
capacity as Governor of the State of Florida,

               Defendant.
________________________________________

     D E C L A R A T I O N O F D A V I D S I N G E R I N S U P P OR T O F
 P L A I N T I F F ’ S M O T I O N F O R P R E L I MI N A R Y I N J U NC T I O N
      I, David Singer, declare as follows:
      1.      I am an attorney duly licensed to practice in the State of Florida. I am

a partner at Shumaker, Loop & Kendrick, LLP, co-counsel of record for Plaintiff
Andrew Warren. I have personal knowledge of the facts stated herein and am
competent to testify.

      2.      Attached as Exhibit 1 is a true and correct copy of State of Florida,
Office of the Governor, Executive O rder Number 22-176 (Executive O rder of
Suspension), dated August 4, 2022, including Exhibit A and Exhibit B thereto, also

available at https://www.flgov.com/wp-content/uploads/2022/08/Executive-Order-
22-176.pdf.
      3.      Attached as Exhibit 2 is a YouTube video published by Forbes

Breaking News, titled ‘I Think These Doctors Need To Get Sued’: DeSantis Slams
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Gender Affirming Surgery For Children, posted on August 3, 2022. A true and
correct copy is available at https://www.youtube.com/watch?v=AnlcFZpNOoM .

      4.        Exhibit 3 is a YouTube video published by ABC Action News, titled
Gov. DeSantis’ Reasoning for Suspending State Attorney Andrew Warren, posted on
August     4,      2022.    A       true   and        correct     copy   is   available   at
https://youtu.be/2oZ5Xy55OHw?t=27.

      5.        Attached as Exhibit 4 is a true and correct excerpt of a Twitter post by
Andrew Warren (@AndrewWarrenFL), My initial thoughts on today’s #RoeVWade
#dobbsdecision, posted on J une 24, 2022, at 9:12 a.m., available at
https://twitter.com/AndrewWarrenFL/status/1540367161419616258.

      6.        Attached as Exhibit 5 is a true and correct excerpt of a Twitter post by
Ron DeSantis (@GovRonDeSantis), By properly interpreting the Constitution, the
Supreme Court has answered the prayers of millions upon millions of Americans,
posted     on J une           24,      2022,         at    9:59     a.m.,     available   at
https://twitter.com/GovRonDeSantis/status/1540378975251341315.

      7.        Attached as Exhibit 6 is a true and correct copy of a news release by
Ron DeSantis, Governor Ron DeSantis’ State of the State Address, dated January
11, 2022, available at https://flgov.com/2022/01/11/governor-ron-desantis-state-of-
the-state-address-3/.

      8.        Attached as Exhibit 7 is a true and correct excerpt of a Twitter post by

Christina Pushaw (@ChristinaPushaw), MAJOR announcement tomorrow morning

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from @GovRonDeSantis. Prepare for the liberal media meltdown of the year
Everyone get some rest tonight, posted on August 3, 2022, at 6:32 p.m., available at

https://twitter.com/ChristinaPushaw/status/1555003744781230080?s=20&t=obr8H
qKrqjAzd3aWng-W4A.

        9.       Attached as Exhibit 8 is a true and correct copy of a Fox 13 News

article by Gloria Gomez, titled ‘Back to basics’: Newly-appointed Hillsborough
State Attorney Sets New Tone with Policy Rollbacks Coming Soon, dated August 9,
2022,        available   at   https://www.fox13news.com/news/back-to-basics-newly-

appointed-hillsborough-state-attorney-sets-new-tone-with-policy-rollbacks-
coming-soon.

        10.      Exhibit 9 is a YouTube video published by the State Attorney’s Office
13th Judicial Circuit, titled State Attorney Susan Lopez, 13th Judicial Circuit, posted
on   August        5,    2022.   A    true   and    correct   copy    is   available   at
https://youtu.be/s4lBNh13T5Q.

        11.      Attached as Exhibit 10 is a true and correct copy of a Press Release by
the Office of the State Attorney, 13th Judicial Circuit, titled State Attorney Susan S.
Lopez Seeking Death Penalty in Brutal Murder Case, dated August 8, 2022,

available at https://www.sao13th.com/2022/08/state-attorney-susan-s-lopez-seeks-
death-penalty-in-brutal-murder-case/.

        12.      Attached as Exhibit 11 is a true and correct copy of an Orlando Sentinel

article by Steven Lemongello, titled Seminole Sheriff Dennis Lemma: I Won’t


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Enforce Assault Weapons Registry if Amendment Passes, dated January 15, 2020,
available at https://www.orlandosentinel.com/politics/os-ne-seminole-sheriff-gun-

registry-20200115-j7zcrudn55dvdduxpreydctkpi-story.html.

      13.   Attached as Exhibit 12 is a true and correct copy of an Orlando Sentinel
article by Skyler Swisher, titled ‘Constitutional’ Sheriff Movement Escapes

DeSantis’     Scrutiny,    dated      August      8,     2022,      available     at
https://www.orlandosentinel.com/news/os-ne-florida-sheriffs-gun-control-desantis-
20220808-olkcvjqfkfcm7b2pb6unzh2hsi-story.html.

      14.   Attached as Exhibit 13 is a true and correct copy of a Tampa Bay Times
article by Tony Marrero, titled Evictions suspended in Hillsborough Through April
20. The Sheriff Had 250 to Serve Now., dated March 18, 2020, available at

https://www.tampabay.com/news/hillsborough/2020/03/18/evictions-suspended-in-
hillsborough-through-april-20-the-sheriff-had-250-to-serve-now/.

      15.   Attached as Exhibit 14 is a true and correct copy of a News Channel 8

article by J ustin Schecker, titled Chief Communications O fficer for Hillsborough
County State Attorney Terminated from Her Job, updated August 16, 2022, available
at https://www.wfla.com/news/hillsborough-county/chief-communications-officer-

for-hillsborough-county-state-attorney-terminated-from-her-job/.




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      I declare under the penalty of perjury under the laws of the United States that
the foregoing is true and correct.

      EXECUTED this 17th day of August, 2022.


                                      /s/ David Singer
                                      David Singer




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